   2:15-cv-10202-GER-DRG        Doc # 20   Filed 12/14/15   Pg 1 of 15   Pg ID 213



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

LORI SIMON,

                           Plaintiff,

                                                                  No. 15-CV-10202
   vs.                                                        Hon. Gerald E. Rosen
                                                   Magistrate Judge David R. Grand

JPMORGAN CHASE BANK, N.A.,

                           Defendant.

___________________________________/

   OPINION AND ORDER GRANTING DEFENDANT’S MOTION FOR
                   SUMMARY JUDGMENT

                                I. INTRODUCTION

         Plaintiff Lori Simon brought this case under the Electronic Funds Transfer

Act (“EFTA”), 15 U.S.C. § 1693 et seq., alleging that Defendant JPMorgan Chase

Bank, N.A. (“Chase”) -- with whom Plaintiff maintained two bank accounts --

made an unauthorized electronic transfer of $51,526 from her personal checking

account.    Defendant maintains that the transfer was made not from Simon’s

personal account, but rather from a savings account that Plaintiff maintained

jointly with her husband, and was made pursuant to a levy that the State of

Michigan had placed on the account because Plaintiff’s husband owed over


                                           1
    2:15-cv-10202-GER-DRG      Doc # 20   Filed 12/14/15   Pg 2 of 15   Pg ID 214



$80,000 in child support payments to the State. Defendant has now filed for

summary judgment in the matter, and that motion has been fully briefed.

      Having reviewed and considered the parties’ briefs and supporting

documents and the entire record of this matter, the Court has determined that the

pertinent allegations and legal arguments are sufficiently addressed in these

materials and that oral argument would not assist in the resolution of this motion.

Accordingly, the Court will decide the parties’ motions “on the briefs.” See L.R.

7.1(f)(2). This Opinion and Order sets forth the Court’s ruling.

                            II. PERTINENT FACTS

      The facts leading up to the allegedly unlawful transfer in this matter are

undisputed. Plaintiff maintained two bank accounts with Defendant: (1) a joint

savings account with her husband Keith Simon, ending in the number 2337 (the

“Joint Account”), and (2) a personal checking account ending in the number 3770

(the “Personal Account”).

      On May 28, 2014, Defendant received a letter from the State of Michigan

Office of Child Support Lien and Levy Enforcement notifying Defendant that

Keith Simon owed the State $85,189 in unpaid child support. 1 May 28, 2014

Notice of Lien and Levy Disclosure, Dkt. # 11, Ex. 3. The document notified

Defendant that the lien “attaches itself to any and all applicable accounts of the

1
 The parties do not provide any description of why child support was owed, or to
whom it was to be ultimately paid.
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    2:15-cv-10202-GER-DRG       Doc # 20   Filed 12/14/15   Pg 3 of 15   Pg ID 215



above-named obligor pursuant to MCL 552.625c.”              Id.   It further notified

Defendant that, pursuant to Michigan law, it was required to “freeze the obligor’s

or other account holder’s assets or funds up to the amount identified on the Notice

of Lien” and that Keith Simon had 21 days to challenge the lien. Id. Last, it

provided that, if 28 days passed from the time Keith Simon was given notice of the

lien without any payment from him, Defendant was to “send the frozen assets to

the Michigan State Disbursement Unit.” Id.

      Defendant subsequently placed a hold on all assets in the Joint Account. On

May 30, 2014, Defendant provided notice of the May 28 letter to Keith Simon and

advised him that a hold had been placed on the Joint Account pursuant to the May

28 letter. May 30, 2014 Asset Freeze Notice Letter, Dkt. # 11, Ex. 4. Simon did

not respond to the letter. The parties do not dispute any of these facts.

      From this point forward, however, the parties have divergent accounts of

what happened. According to Defendant, on June 25, 2014, Chase’s Court Orders

and Levies department (“COAL”) debited $51,523.36 from the Joint Account (the

“Debit”), pursuant to the instructions from the May 28 letter, and subsequently

removed the hold that had been placed on the account. Defendant supports this

claim with a monthly account statement of the Joint Account that indicates a debit

was made on June 25 from the Joint Account for the amount of $51,523.36 with

the description “Nas-Coal,” Joint Account Monthly Statement, Dkt. # 11, Ex. 5, as


                                           3
    2:15-cv-10202-GER-DRG       Doc # 20   Filed 12/14/15   Pg 4 of 15   Pg ID 216



well as a cashier’s check in the amount of $51,523.36, dated June 26, 2015, and

made out to the Michigan State Disbursement Unit. Cashier’s Check, Dkt. # 11,

Ex. 6.

         Then, according to Defendant, “On June 26, 2014, Plaintiff and/or [Keith]

Simon attempted an online transfer from the Joint Account to Plaintiff’s Account

in the amount of $51,526.00.” Pl.’s Mot. for Summ. J., Dkt. #11, at 2. Defendant

supports this assertion by pointing to a line in the monthly statement of the Joint

Account denoting a “Returned Item Fee For An Unpaid . . . Transfer to Chk,”

reflecting a fee for an attempt to transfer with insufficient funds (because the funds

in the Joint Account had been paid in partial satisfaction of the levy) as well as a

letter sent to Plaintiff on June 26, 2014, informing her that “The items(s) listed

below were presented for payment against your account; however, you didn’t have

enough money to cover them” and indicating the attempted $51,526 transfer. June

26, 2014 Insufficient Funds Notice, Dkt. # 11, Ex. 7.          Further, the monthly

statement for Plaintiff’s Personal Account indicates both a deposit and a

withdrawal in the amount of $51,526 on June 27, which Defendant asserts is the

typical way in which an insufficiently funded transfer would be reflected on a

statement. Personal Account Monthly Statement, Dkt. # 11, Ex. 8. Plaintiff never

responded to the insufficient funds notice that Defendant sent her.




                                           4
    2:15-cv-10202-GER-DRG      Doc # 20    Filed 12/14/15   Pg 5 of 15   Pg ID 217



      Plaintiff’s account of this time period is substantially different. She asserts

that, after learning about the hold on the Joint Account from the May 28 letter, she

accessed the Account on June 26, 2014, at 12:01 AM. According to her affidavit,

she “went on-line and discovered that the hold was removed; the screen for the

joint account had the words, "HOLD REMOVED" on it.” Lori Simon Aff., Dkt. #

16-2, ¶¶ 2-6. She also asserts that, at that time, the Personal Account “had a

negative balance of $-249.13,” and, at that time, she was unable to perform

transactions against the Personal Account. Id. ¶ 7. Then, at 2:51 AM on the same

day, Plaintiff allegedly “awoke and found that [her] money was now available in

the joint account, a total of $51,526.73. This was the amount of the hold plus

$3.37 in interest.” Id. ¶ 8. Plaintiff claims that she then transferred $51,526 from

the Joint Account into her Personal Account. Id. ¶ 9. Plaintiff provides no

evidence, other than her bare affidavit, of any of these claims. She further asserts

that the bank statements provided by Defendant were incorrect and “back-dated.”

Pl.’s Resp. to Def.’s Mot. for Summ. J., Dkt. # 16, at 4.

      Then, “[t]o make sure that the transfer actually occurred,” Simon Aff. ¶ 10,

Plaintiff performed several transactions using her Personal Account, including a

$500 withdrawal using an ATM, a $65.91 purchase from a gas station, and a

DirecTV payment of $141.64. Id. ¶¶ 10-12. Plaintiff provides documentation of

the ATM and DirecTV transactions in the form of receipts, see Debit Receipts,


                                          5
    2:15-cv-10202-GER-DRG      Doc # 20   Filed 12/14/15   Pg 6 of 15   Pg ID 218



Dkt. # 16-3, and her Personal Account monthly statement reflects all three

transactions, see Personal Account Monthly Statement, Dkt. # 11, Ex. 8.

According to Plaintiff, these three transactions “demonstrate the successful deposit

of the subject funds from the joint account into Plaintiff’s checking account on

June 26, 2014 and act as an admission of that successful deposit as Chase

communicated to the various institutions that these funds were available in an

account that had a negative balance prior to the deposit.” Pl.’s Resp. to Def.’s

Mot. for Summ. J., at 3. Further, Plaintiff claims that on June 26, 2014, Keith

Simon “spoke by phone with representatives of the Defendant bank” and that

“[d]uring those phone conversations, two representatives of Chase told [him] that it

did not matter that the funds had been transferred” and thus “admitted that on June

26, 2014, $51,526 had been transferred from [the Joint Account] to [Plaintiff’s]

personal checking account.” Keith Simon Aff., Dkt. # 16-4, ¶¶ 2-4. Plaintiff

provides no evidence of these conversations other than Keith Simon’s affidavit.

      From this point forward, the facts are again undisputed. On September 22,

2014, Plaintiff mailed a letter to Defendant stating that Defendant “withdrew

$51,520 from [her] account” and that Plaintiff “did not authorize this withdrawal.”

September 22, 2014 Letter from Lori Simon to JPMorgan Chase Bank, Dkt. # 11,

Ex. 9. Plaintiff wrote, “Please consider this correspondence my request that you

investigate this illegal withdrawal and return these funds immediately.” Id.


                                          6
     2:15-cv-10202-GER-DRG     Doc # 20   Filed 12/14/15   Pg 7 of 15   Pg ID 219



       Apparently Defendant did not respond to that letter, and Plaintiff initiated

this action on January 21, 2015. In her Complaint, Plaintiff claims that Defendant,

by transferring money from her Personal Account without her authorization,

“engaged in an unauthorized electronic fund transfer,” in violation of the EFTA.

Pl.’s Compl., Dkt. # 1, ¶ 19. Plaintiff’s Complaint also list claims for statutory

conversion, in violation of M.C.L. § 600.2919a, and common law conversion, id.

¶¶ 22-25, though Plaintiff has indicated in her briefing that she “agrees to dismiss”

both of those claims, Pl.’s Resp. to Def.’s Mot. for Summ. J., at 8. Defendant

subsequently filed a Motion for Summary Judgment, asserting that Plaintiff has

failed to provide adequate factual support for her claims, and that even if her

claims are factually true, she has not properly made out a claim under the EFTA.

Dkt. # 11.



                                III. DISCUSSION

A.     Rule 56 Standard

       Through its present motion, Defendant seeks summary judgment in their

favor pursuant to Rule 56 of the Federal Rules of Civil Procedure. Under that

Rule, summary judgment is proper if the moving party “shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). As the Supreme Court has explained, “the


                                          7
     2:15-cv-10202-GER-DRG      Doc # 20    Filed 12/14/15   Pg 8 of 15   Pg ID 220



plain language of Rule 56[] mandates the entry of summary judgment, after

adequate time for discovery and upon motion, against a party who fails to make a

showing sufficient to establish the existence of an element essential to that party’s

case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986). In addition, where a moving party seeks an

award of summary judgment in its favor on a claim or issue as to which it bears the

burden of proof at trial, this party’s “showing must be sufficient for the court to

hold that no reasonable trier of fact could find other than for the moving party.”

Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986) (emphasis and

citation omitted).

       In deciding a motion brought under Rule 56, the Court must view the

evidence in a light most favorable to the nonmoving party. Pack v. Damon Corp.,

434 F.3d 810, 813 (6th Cir. 2006). Yet, the nonmoving party may not rely on mere

allegations or denials, but must “cit[e] to particular parts of materials in the record”

as establishing that one or more material facts are “genuinely disputed.” Fed. R.

Civ. P. 56(c)(1).

B.     Analysis

       Since Plaintiff has withdrawn her state law claims, her only remaining claim

relies exclusively on the Electronic Funds Transfer Act (“EFTA”), 15 U.S.C. §

1693 et seq., which federal government enacted the EFTA as part of the


                                           8
    2:15-cv-10202-GER-DRG       Doc # 20    Filed 12/14/15   Pg 9 of 15   Pg ID 221



comprehensive Consumer Credit Protection Act, Pub. L. No. 95–630 § 2001, 92

Stat. 3641 (1978) (codified as amended at 15 U.S.C. § 1601 et seq.). “The EFTA

protects individual consumer rights by ‘provid[ing] a basic framework establishing

the rights, liabilities, and responsibilities of participants in electronic fund transfer

systems.’” Clemmer v. Key Bank Nat. Ass’n, 539 F.3d 349, 351 (6th Cir. 2008)

(alteration in original) (quoting 15 U.S.C. § 1693(b)).

      There are several problems with Plaintiff’s claim. First, the Court is unable

to identify the substantive law in the EFTA on which Plaintiff relies. Plaintiff’s

Complaint refers to 15 U.S.C. § 1693a -- the “Definitions” section of the EFTA --

for the proposition that an “‘electronic fund transfer’ [is] ‘any transfer of funds,

other than a transaction originated by check, draft, or similar paper instrument,

which is initiated through an electronic terminal, telephonic instrument, or

computer or magnetic tape so as to order, instruct, or authorize a financial

institution to debit or credit an account.’” Pl.’s Compl. ¶ 18 (quoting 15 U.S.C. §

1693a(7)). 2 The Complaint then simply quotes the entirety of § 1693m -- the

section of the EFTA that provides for a federal civil cause of action for any

violation of the EFTA. Id. ¶ 20. Section 1693m provides, in relevant part, that

“[e]xcept as otherwise provided by this section and section 1693h of this title, any

person who fails to comply with any provision of this subchapter with respect to

2
 Plaintiff’s complaint incorrectly cites § 1693a(6) and (9) for this quote. Pl.’s
Compl. ¶ 18.
                                           9
    2:15-cv-10202-GER-DRG      Doc # 20    Filed 12/14/15   Pg 10 of 15   Pg ID 222



any consumer, except for an error resolved in accordance with section 1693f of this

title, is liable to such consumer . . . .” 15 U.S.C. § 1693m. But Plaintiff refers to

no provision of the EFTA demonstrating that Defendant committed a substantive

violation, even if every fact pled by Plaintiff is true.3 That is to say, she points to

no provision that would make Defendant’s conduct as pled unlawful under the

ETFA. Nor does Plaintiff refer to a single case with similar factual circumstances

in which an EFTA violation was found.

      Defendant does not argue this flaw as a basis for its Motion, however, and so

the Court disregards the problem for the moment and instead focuses on the issues

raised by Defendant. Defendant’s first -- and primary -- argument supporting its

Motion is that it has shifted the burden of production to Plaintiff by bringing forth

evidence that Plaintiff’s attempted transfer of money from the Joint Account to the

Personal Account never occurred (which, is, presumably, a prerequisite for

Plaintiff’s EFTA claim that Defendant made a transfer that was not authorized

through the State’s levy, because her husband was a named holder on the Joint

Account but not on the Personal Account). Defendant further argues that Plaintiff

has failed to shift the burden back to Defendant by pointing to evidence in the

record that demonstrates a genuine issue of material fact. The Court agrees. “A

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  The EFTA does contain a section providing for the “Liability of Financial
Institutions.” 15 U.S.C. § 1693h. That section provides substantive liability for an
institution’s failure to properly make certain transactions where a plaintiff
requested one. Id. § 1693h(a).
                                          10
   2:15-cv-10202-GER-DRG       Doc # 20   Filed 12/14/15   Pg 11 of 15   Pg ID 223



movant for summary judgment meets its initial burden ‘by showing -- that is,

pointing out to the district court -- that there is an absence of evidence to support

the nonmoving party’s case.’” Rachells v. Cingular Wireless Employee Servs.,

LLC, 732 F.3d 652, 660 (6th Cir. 2013) (quoting Dixon v. Anderson, 928 F.2d 212,

216 n.5 (6th Cir. 1991)) (internal quotation marks omitted). “The non-movant then

must set forth specific facts showing that there is a genuine issue for trial.” Id.

While the Court may not resolve disputes of fact or determine matters of credibility

where the parties disagree as to a material fact, “[t]he mere existence of a scintilla

of evidence in support of the plaintiff’s position will be insufficient; there must be

evidence on which the jury could reasonably find for the plaintiff.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 252 (1986) (emphasis added).

      Here, Defendant has “point[ed] out to the district court” substantial evidence

indicating that there was no transfer of money between the Joint Account and the

Personal Account. It has provided the monthly statements of both accounts, the

cashier’s check, and the insufficient funds notice that was issued when the

attempted transfer failed. The two affidavits that Plaintiffs relies on assert a

contrary story and claim that the monthly statements were somehow falsified, but

in their essence, both affidavits merely restate the allegations made in the

complaint. See, e.g., Zenith Vinyl Fabrics Corp. v. Ford Motor Co., 357 F. Supp.

133, 138 (E.D. Mich. 1973) (“There is substantial authority to the effect that an


                                          11
   2:15-cv-10202-GER-DRG       Doc # 20   Filed 12/14/15   Pg 12 of 15   Pg ID 224



affidavit which merely restates the allegations of the complaint should be

disregarded.”); Moore v. N. Am. Rockwell Co., 16 Fed. R. Serv. 2d 145 (E.D.

Mich. 1972) (“In the affidavit before this court, plaintiff has merely restated the

conclusory allegations of his complaint or has simply denied the truth of

defendants’ affidavits. Having stated only conclusions, his affidavit does not by

itself create any issues of fact which would make summary judgment

inappropriate.”); Maclin v. Tipton Cty., Tenn., No. 2:10-CV-02468-CGC, 2011 WL

130161, at *5 (W.D. Tenn. Jan. 14, 2011) (“Although the Court considers an

affidavit filed by a plaintiff as sound evidence that could refute a proper motion for

summary judgment, the substance of this Affidavit is minimal at best and in

essence merely restates his allegations in the Complaint.”). If such an affidavit

were sufficient to survive summary judgment, Rule 56 would become entirely

toothless, as a plaintiff would merely have to provide an affidavit asserting that the

facts as laid out in the complaint are true, regardless of any lack of evidence

supporting the veracity of the claims made in the affidavit. Plainly, Plaintiff has

pointed to no evidence that any reasonable juror could possibly find has rebutted

Defendant’s clear record evidence supporting its position.

      Plaintiff contends that she has put forth evidence other than the two

affidavits in support of her factual claims. She points to the three transactions that

she made using her personal account between June 27 and June 30 (the ATM


                                          12
   2:15-cv-10202-GER-DRG       Doc # 20   Filed 12/14/15   Pg 13 of 15   Pg ID 225



withdrawal, gas station purchase, and DirecTV payment), asserting that if the

alleged $51,526 transfer into the Personal Account had not occurred, she would not

have had sufficient funds to make those transactions, as the Personal Account had

a negative balance prior to the alleged transfer. Pl.’s Resp. to Def.’s Mot. for

Summ. J., at 4-6. But Defendant rebuts this contention, explaining that “is no

support . . . in fact that she would be unable to complete any transactions while her

account was overdrawn.” Def.’s Reply, at 4. Plaintiff, once again, points to no

evidence establishing that she would have been unable to make the three

transactions without the alleged transfer having successfully been made to her

Personal Account.

      While it is clear that Plaintiff has failed to demonstrate an issue of material

fact that would prevent summary judgment, the Court need not even rely on such a

finding in order to grant Defendant’s Motion.            Even assuming all of the

contentions in Plaintiff’s and her husband’s affidavits are true, Michigan law bars

Plaintiff’s recovery. M.C.L. § 552.625d(4) states that

      A financial institution, insurer, or carrier that forwards financial
      assets, money to be paid, or compensation to the title IV-D agency in
      response to a levy . . . is discharged from any obligation or liability to
      the depositor, account holder, or other person with an interest in the
      financial assets, money to be paid, or compensation forwarded to the
      title IV-D agency.

The evidence presented here -- namely the cashier’s check made out to the

Michigan State Disbursement Unit -- clearly demonstrates that any “unauthorized
                                          13
   2:15-cv-10202-GER-DRG       Doc # 20    Filed 12/14/15   Pg 14 of 15   Pg ID 226



transaction” made by Chase was a “forward[ing]” of “financial assets . . . in

response to a levy.” Accordingly, Chase cannot be held liable for that forwarding.

                                          * * *

      As a final matter, the Court finds it necessary to note the troubling nature of

this case. The conduct of Plaintiff and her husband appears to be, based on all of

the records presented to the Court, a calculated attempt to avoid child support

obligations by seeking to hide money in Plaintiff’s personal account. And when

that apparent attempt failed, Plaintiff elected to file a lawsuit in a second attempt to

avoid payment. Plaintiff’s counsel also bears responsibility -- he is bound by Rule

11 to make an “inquiry reasonable under the circumstances” to ensure that “the

factual contentions have evidentiary support” and that “the claims, defenses, and

other legal contentions are warranted by existing law or by a nonfrivolous

argument for extending, modifying or reversing existing law.” Fed. R. Civ. P.

11(b). It does not appear that he met either obligation here, as even a cursory

review of the bank records, not to mention controlling law, should have caused him

to immediately reconsider his decision to pursue this litigation.

      However, in the spirit of the holiday season, the Court will not order

Plaintiff to show cause as to why sanctions under Rule 11 should not be entered

against Plaintiff’s attorney or against Plaintiff herself. Nevertheless, both Plaintiff




                                          14
   2:15-cv-10202-GER-DRG       Doc # 20     Filed 12/14/15   Pg 15 of 15   Pg ID 227



and her attorney should consider themselves warned that the Court takes these

rules seriously, and future cases of this nature could result in monetary sanctions.



                                IV. CONCLUSION

      For all of the foregoing reasons,

      IT IS HEREBY ORDERED that Defendant’s Motion for Summary

Judgment (Dkt. # 11) is GRANTED.

      IT IS FURTHER ORDERED that Plaintiff’s Complaint is DISMISSED

WITH PREJUDICE.

      IT IS SO ORDERED.



Dated: December 14, 2015                  s/Gerald E. Rosen
                                          Chief Judge, United States District Court


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 14, 2015, by electronic and/or ordinary
mail.

                                 s/Julie Owens
                                 Case Manager, (313) 234-5135




                                           15
